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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION



 UNITED STATES OF AMERICA,



 v.                                                       CASE NO. 3:13CR00178-010


 JOSUE IVAN CAMACHO-MENDOZA,
                        Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

 the Defendant's request to enter a pleas of guilty pursuant to Fed. R. Crim. P. 11 and a written

 plea agreement that has been entered into by the United States and the Defendant. The matter

 was presented to the court upon the written consent of the Defendant and counsel for the

 Defendant to proceed before a United States Magistrate Judge, said consent including the

 Defendant's understanding that he consented to not only having the Magistrate Judge conduct

 the hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate

 Judge make necessary findings and accepting any guilty plea as may be entered that could not be

 withdrawn except for fair and just reason.

          The Defendant pled guilty to Count One and Six of the Superseding Indictment in open

 court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements

 made by the Defendant under oath, on the record, and based upon the written plea agreement and

 statement of facts presented, the court makes the following findings:

         1.     That the Defendant is competent to enter a plea of guilty;

        2.      That the Defendant understands the nature of the charges against him to which his
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